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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


 SECURITIES AND EXCHANGE COMMISSION,

        Plaintiff,

        v.                                                Case No. 17-cv-11633-DJC

 NAVELLIER & ASSOCIATES, INC. and
 LOUIS NAVELLIER,
      Defendants.


       JOINT STATEMENT CONCERNING FURTHER REMEDIES BRIEFING

       Pursuant to the Court’s September 1, 2020 Order (ECF # 325), the parties submit this

joint statement proposing a case schedule for the filing of proposed findings of fact and

conclusions of law regarding disgorgement. Counsel for the parties discussed the briefing

schedule on September 14 and 15, but were unable to agree about the sequence and timing of

briefs. Accordingly, the parties each submit a schedule below:

                            PROPOSED BRIEFING SCHEDULE

Commission’s Statement

       The Commission requests the following schedule:

 October 30, 2020               Plaintiff submits proposed findings of fact and conclusions of
                                law with supporting memorandum

 November 13, 2020              Defendants submit proposed findings of fact and conclusions of
                                law with supporting memorandum and response to Plaintiff’s
                                filings
 November 23, 2020              Plaintiff submits reply

       Plaintiff requests this schedule because (1) Plaintiff’s counsel has two dispositive motion

filings due in other cases in the next 30 days, and (2) findings and conclusions with supporting
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materials will take time to assemble. There is no prejudice to the Defendants from this schedule

because of the stay entered.

Defendants’ Statement

         Defendants request the following schedule:

 September 30, 2020              Plaintiff submits proposed findings of fact and conclusions of
                                 law with supporting memorandum

 October 14, 2020                Defendants submit their response to proposed findings of fact
                                 and conclusions of law with supporting memorandum

         Defendants believe this schedule is appropriate because the Commission moved the

Circuit Court to remand the disgorgement ruling of this Court after the Liu decision, and should

be required to file its brief first, with the Defendants getting to respond. In addition, Defendants

request that if the Commission is granted leave to reply, that Defendants be granted leave to sur-

reply.


Dated: September 15, 2020

                                              Respectfully submitted,

                                              SECURITIES AND EXCHANGE
                                              COMMISSION

                                              By its Attorneys,

                                              /s/ ___Marc J. Jones_________
                                              Marc J. Jones (Mass. Bar #645910)
                                              Jennifer A. Cardello (Mass Bar No. 657253)
                                              William J. Donahue (Mass. Bar No. 631229)

                                              Boston Regional Office
                                              33 Arch Street
                                              Boston, MA 02110
                                              (617) 573-8947 (Jones direct)
                                              (617) 573-4590 (fax)
                                              JonesMarc@sec.gov

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                                CERTIFICATE OF SERVICE

        I certify that on September 15, 2020, a copy of the foregoing was electronically filed
through the ECF system and will be sent electronically to all persons identified in the Notice of
Electronic Filing and that paper copies will be sent to those indicated as non-registered
participants.


Dated: September 15, 2020                            /s/ Marc J. Jones




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